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                          U N ITED STA TES D ISTRICT CO U RT
                                         Forthe
                          SOU THERN D ISTRICT OF FLOR IDA
                                                                          FILED BY               D,C '
D evon A .Brown                     CA SE N O .9:20-cv-81903
                  Plaintiff,                                                   MA2 12 2221
                                                                                 ANGELA E,NOBLE
                                                                                CLERK U.S.DISI CX
VS.                                                                           s.D.OF FLA.-FT.LAUD.



N apleton's W estPalm H yundaiand,
Santander Consllm erU SA ,
                   Defendants.



PLAIN TIFF'S O PPO SITIO N TO DE FEN DA N T N A PL ETO N 'S W E ST PA LM
H YU N DA I'S SEC O N D A M EN D ED M O TIO N TO C O M PEL A R BITR ATIO N AN D
AM END ED M O TIO N TO STA Y PR O C EE DIN G S.


      CO M ES N O W Plaintiff Devon A .Brown,SuiJuris,and fileshisopposition to defendant
Napleton'sW estPalm Hyundai's(NW PH)secondamendedmotiontocompelarbitrationand
am ended m otion to stay proceedings.,and he statesthe follow ing:

1.TheDefendantNW PH hasfiled am otion to compeldiscovery and stayproceedings,which
w as rightfully denied by this Honorable Court.The D efendantN W PH then w entand filed itan
am ended m otion to com peldiscovery and stay proceedings.N oticing thatitsam ended m otion to
com pelarbitration and m otion to stay proceedings isvery w eak,because ithadn'tplead m uch
difference in the body ofits am ended m otion to compeland m otion to stay proceedings,so w hile
the am ended m otion to com peland stay proceedingsare pending;the DefendantN W PH fild
anotheram ended m otion to com pelarbitration and stay proceedings.This second REPLY
am ende m otion to com pelarbitration and stay proceedingsisalm ostidenticalto the one thatw as
denied by this Honorable Court.So thisam ended m otion to com pelarbitration and m otion to
stayproceedingsshouldbelikewisedeniedwithprejudice.
2.TheDefendantNapleton'sW estPalm Hyundaiisstillin default,andhasnotstated any legal
reasonsto setasidethe default,and even ifthisHonorable Courtwasto setasidethedefault;the


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defendantN W PH hasnotargued a viable cause to com pelarbitration and stay proceedings.This
delayprejudicePlaintiffhashehad statedinhisopposition toDefendantNW PH amended
m otion to setaside default.

3.The Plaintiffw asa victim ofa deceptivetradepractice and predatory lending in which this
defendantN W PH w as a conspiratorto the fraud w ith its co-defendant.The defendantN W PH is
relying on thesalescontractarbitration clause.W hatthedefendantNW PH doesnottmderstand
isthus,the contractin thefirstplace wasa coerced fraudulentcontract,fraud cancelsout
everything thatitenters.Fraud does vitiate them ostsolem n contracts,documentsand even
judgements.UiS.v.THROCKM ORTON,98U.S.61.
4.ln som e instances,even ifthere is fraud,the Courtcan stillordertheparties to arbitration,IF
TH IS A RG UM EN T IS IN TH E A RBITR ATION CLA U SE OF TH E SPECIFIC CON TRA CT .
Thisisnotthe factherein.The D efendantw ould have to state in the arbitration docum entthatthe
arbitration coversany soz'toffraud etc.this willbe show n through precedentcase law sbelow .
Becausethecontractthatleadstothearbitration isfraud,thewholecontractisanullity.''Any
false representation ofm aterialfacts m adew ith know ledge offalsity and w ith intentthatit
shallbe acted on by another in entering into contract,and w hich is so acted upon,
constitutes 'fraud.'and entitles partv deceived to avoid contractor recover dam aees-''
BarnsdallRefininz Corn.n Birnam Wood 0ilCo.92 F 26 817.

5.Forthe defendantN W PH to defeatthe fraud claim ,there should be a phrase Eiarising outofor
in connection with the presentcontracf',which isbroad language thatlikely could prevents
plaintifffrom claim ing the scope ofthe arbitration clause w ould notinclude fraud.Generally
speaking,including ttarising outoforrelating to''orsimilarlanguageisintep reted asaEçbroad''
arbitration clause by courts.D lorah,Inc.v.KLE Constn,LLC,N o.16-5102-JLV ,2017 U .S.
Dist.LEXIS 110435,at*9(D.S.D.July 17,2017)(citingFleetTirekvcrv.ofN LittleRockv.
OliverRubberCo.,118F.3d619,620-21(8th Cir.1997:.Intheinstantcasebetween Plaintiff
and defendantNW PH,therewasnobroad arbitration clause.t:lfthe contractwasvoidedby
fraud,thearbitration provision therein falls.''M atterofCheney Brothersv.Joroco Dresses,lnc.,
218App.Div.652,219N.Y.Supp.96(istDept.1926).



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    6.Plaintiffscanseektohavethecaseflrstexaminedby acourqclaimingthaifraudclaimsare
    notsubjecttoarbitration.(See,e.g.,Tottenv..R.G.Constn,No.C 02-04599JSW ,2005U.S.
    Dist.LEXIS38816,at*10(N.D.Cal.Dec.13,2005).InthecurrentactionbetweenPlaintiffand
    defendantN W PH ,the arbikation clause doesnotstate that dteven iffraud or such isalleged,then
    the partiesw illm andatorily go to arbitration''.A n arbitration clause thatclearly covers a11claim s
    ûtarising outoforrelated to''thecontractand,betteryet,specifically identifiesarbitrability asan
    issuereserved forthe arbitrator.

    7.H as stated before,the defendantN W PH hasnotplead m uch difference in its am ended m otion
    tocompelarbitration and m otion to stay proceedings.TheCourthasdenied alm ostthe sam e
    m otion to com pelarbitration and m otion to stay proceedings filed by thisdefendant.N othing
    new filed by thedefendantNW PH in itsmotion forthe Courtto changeitsruling.

    W H EREFORE,the Plaintiffm ovesthis H onorable Courtto D EN Y the defendantN apleton's
ë
!
    w estPalm Hpm dai'sm otion to compelarbitration and m otion to stayproceedingswith
    prejudice,becauseitisevidencedbynow thatthedefendantcannotcureitsdeficiencies.The
    CourtshallG RAN T the Plaintiffthe relief sough herein orany otherreliefthatthis Honorable
    Courtdeemsjustandequitable.


                                   CER TIFIC A TE O F SER W C E
    1 hereby certify that a tnze copy of the foregoing w as fum ished to the party below via
    the U .S. postal service and or em ail on M arch 12 , 2021.


    Party Served:                                  By:

    LITCH FIELD CA V O ,LLP                        D evon A .Brow n
    M ark Atlas                                    2847 Jackson Street
    A ttorney forD efendant                        A pt.5
    N apleton's W estPalm H yundai                 H ollm ood,FL.33020
    600CorporateDdve,Suite600                      (954)628-2512
    FortLauderdale,FL 33334
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